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Exhibit 5

 

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TYPEMOCK, LTD. v. TELERIK lNC., 1:17-¢v-10274-RGS, AMENDED CLAlM CHARTS

LlS 8..352.9'.-’.3.

.-\(`("USF,|) (`()i\"l P()l\‘ ENTS .»\Nl`) BASIS OF INFRIN(J l"_!\-'l l`CN'I` C`()NTENTI(_):\"$

 

[Claim l is not asserted in
this case but is charted as
background for asserted
dependent claims]

l.P A software testing
system operative to test a
software application
comprising a plurality of
software components, at
least some of which are
coupled in a utilizing-
utilized relationship the
system comprising:

 

The accused components t`or all asserted claims of the ’923 Patent are Telerik’s JustMockTM and
DevCraltTM products (“Accused Soitware Products”).

JustMock is software for testing software applications that comprise a plurality of software
components When the JustMock software is loaded for execution on a computer, the computer as
so contigured constitutes a software testing system operative to test a software application
comprising a plurality of software components. Telerik also provides a product called DevCraft,
which incorporates the functionality of the Justmock software accused of infringement herein.

The assertions herein are preliminary and subject to continuing discovery, which is just beginning,
including inspection of` relevant Telerik source code and documentation

Telerik’s JustMock is described by Telerik as a “[t]ast, flexible, fully-featured mocking
framework.”

.lustMock (http:liwww,telerik.com)'productsi'mockin_g.aspx}

A “utilized-utilizing” relationship includes at least a dependent-dependency relationship JustMock
is operative to test a software application comprising a plurality of software components, at least
some of which are coupled in such a utilizing-utilized relationshipl

Telerik Justllllock is an easy to use mocking tool from Telerik designed to help you create
better unit tests, faster than ever. Te|erik JustMock makes it easier for you to create mock
objects and set expectations independently of external dependencies like databases, web
service calls, or proprietary code.

http:!!www.telerik.comihelpfiustmockjintroduction.html

E@E

ht'tp:ltwww.telerik.ccmlproductslmockina.aspx#unit-testing-simpiitied

lille SE

WR|ETARY'
l:OOE

“What is mocking?

Mocking is a process used in unit testing when the unit being tested has external
dependencies. The purpose of mocking is to focus on the code being tested and not on the
behavior or state of external dependencies. ln mocking. the dependencies are replaced by
closely controlled replacements objects that simulate the behavior of the real ones.

http:i'fwww.telerik,com!productsimocking{unit-testing.aspx (emphasis added).

Telerik JustMock is an easy to use mocking tool from Teleril< designed to help you create
better unit tests.

 

 

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115 8.552.923 r\("(_?t_!$l¢jl) (‘();\-'ll’()NF,NTS .r\Nl) B_.-\SIS OF lN l~"RlN(`.` Ei\-'l ENT C(_)N'I`E.N'I`IONS
What ls Mocking And Why Do l Need It?

lvlocking is a concept in unit testing where real objects are substituted with fake objects that
imitate the behavior of the real one

http:h'www.telerik.comjhelpliustrnockfintroduction.htmI

This claim reads on a “system.” Telerik directly makes and uses such systems itself in various
capacities, and induces and contributes to such infringement by its customers, by providing the
JustMock software component for such systems

Note that claim l of Typemoclc’s ’041 patent incorporates the same technological limitations as this
claim, but reads on a system for distributing computer»readable media having those features
Telerik’s system read on that claim by operating such software distribution servers.

There is also evidence that Telerik copied Ty‘pemock Isolator’s code (which Telerik had previously
licensed from Typemock). While copying the Typemock code to create JustMock, Telerik also
incorporated into .lustMock a specific bug in the Typemock code - a mistake in the code that serves
as a fingerprint of the program from which it was taken. The presence of such a “common error” is
among the strongest evidence of piracy, giving rise in and of itself to at least a primcfacie case of
copying This evidence is further strengthened by JustMock‘s copying of a key program API from
Typemock Isolator, as addressed in 1.4 below.

 

 

l.l a processor and The system as described above includes a computer that has a processor and memory.
memory:

1.2 computational This is a computer apparatus which is part of the claimed system, in this case to perform the
apparatus for at least function of at least partially isolating coupled software components by carrying out the specific
partially isolating, operations specified in the claim language that follows

“at least partially isolating”:

Justlvlock simplifies the process of writing unit tests through isolation of dependencies and
let you cover more codes with unit testing Tesling complex scenarios is now easier By
removing dependencies, JustMock lets you focus only on the logic you want to verify or
assert

https:!)'web.archive.ora)'webf?{] l 3090?.065902r”hltp:)'iwww.telerik.conv`uroductsimockingjfe
atures.aspx

Also, http:)'iwww.telerik.comi‘helullustrnock!advanced-usaae-Dartial-mockina.hlmi:

Partial mocks allow you to mock some of the methods of a class while keeping the rest

 

intact
1.3 from within the “f rom within the software application” - at least partially isolating the coupled component (see
software application, below) from the application under test

Nlocking is a concept in unit testing where real objects are substituted with fake objects that
imitate the behavior of the real ones. lvlocking is done so that a test can focus on the code
being tested and not on the behavior or state of external dependencies For example, if you
have a data repository class that runs business logic and then saves information to a
database, you want your unit test to focus on the business logic and not on the database.
Mocking the “save" calls to your database ensures your tests run quickly and do not depend
on the availability or state of your database

http:f!www,telerik.com!productsimockina.asox#unit~testing-simolified

 

 

 

 

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.-\(`C`l_.`-SE[) (`(`_}MP()NENTS .-\Nl) BASlS.` (_)F INFIUN(_]EMF.NT C'()NTI§NT|.ONS

 

l.4 at least one coupled
software component which
performs a given function

The “coupled software component” can be either a utilizing or utilized component that performs a
given function The JustMock product is specifically designed to test such components

JustMock provides for unrestricted mocking of dependent objects, including non-virtual
methodsl sealed classesl static methods and classesl as well as non-public members and

types

http:n'www.telerik.comi'productsr‘mocking.aspx#elevated-mockigg

Example:

The following example demonstrates how to mock the DatcTime.Now method to return the
date April 12, 2010.

0 C#

¢ VB

a`éCopyC#

[TestMethod]
public void ShouldAe3ertCustomValueForDateTimeNowii

l

// Arrange

Mock.Arrangeiii => DateTime.Now}.Returns(new DateTimeli900, 4, iZl];
// Act

var now = DateTime.Now;

// Assert

Assert.AreEqualtlQOO, now.¥ear):
ASSert.AreEquali4, now.Month);

Assert.hreEqualiiZ, now.Day};
l
Note thatl you can now arrange the DateTime.Now without any pre-requisites

http:!i'www.telerik.comi'help)'iustmockfadvanced-usa<_zc-mscorlib-mocking.html

ln the above example, the “coupled software component” is the call to DateTime.Now.

 

1.5 by introducing, prior to
execution, code elements
for runtime access of
application points
associated with the at least
one coupled software
component

Telerik products utilize at least one form of the claimed “code elements,” which are introduced
through the .NET profiler API prior to execution.

To mock these things [static methods and classesl sealed classes non virtual methods and
properties and so on] Justlvlock uses the .NET Protiling API and behaves like a proti|er but
instead of protiling the code it changes it before the just-in-time compilation and injects code
in the original code on-the-f|y.

http:waw,telcrik.comfforums!is-iustmock"a~ouot-profiler-quot

In at least some Telerik embodiments, the “injected” code is inserted just before the original code of
the coupled software component, e.g., the DateTimc.Now call in the above example

The API Returns() in the Arrange method (see the “Example” in 1.4 above) “introduce|es], prior
to execution, code elements for runtime access of application points associated with” the
software component under test.

 

l.6 wherein at least one
code element associated
with the at least one
coupled software
component provides access
control between utilizing-

 

See the “Example” in 1.4 above, in particular the Arrange().Returns() APl:

// Arrahge
Mock.hrrangelll => DateTime.Now].Returns{new DateTime(l900, 4, 121):

The API Returns() performs access control.

 

 

 

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TYPEMOCK, LTD. v. TELERIK INC., l:l',’-cv-ll|Z'i'd-RGS, AMENDED CLAIM CI-IARTS Page 4
115 8.352,‘)23 AC`C`L|SEI) (`.'() i\"`l l’(`)N I"`.NTS .»\ N D BAS. lS OF lN FR l i\' (_`} l"`,l\"l l".NT C(`)NTF. N Tl()N$
utilized software See also documentation http:,"fwww.telerik.com!he|pi'iustmock!basic»usch-mock.lltml:
components; The Arrange method is used to change the behavior of method or property calls on a mock.
In at least some Telerik embodiments, the code injected by this API (see above) includes a test
whether the coupled component should be mocked, and if so, returns a fake value instead of
executing the original coupled component
l.'i' computational This is again the computer on which the test routines run. This apparatus runs, for example the
apparatus for testing the TestMethod referenced above.
software application
1.8 by imposing a fake “lmposing a fake behavior” is illustrated, by Telerik‘s API, for example, for mscorlib, by:

behavior on the at least one
coupled software
component,

Mock.Arrange((] => DateTime,Now)_Returns(new DateTimcU 900, 4. 12))

Also: http:iiwww,telerik.comfhelp!iusnnockfintroduction.html:
What ls Mocking And Why Do | Need |t?

lvlocking is a concept in unit testing where real objects are substituted with fake objects that
imitate the behavior of the real one '

Note that in replicating the patented functionality, Telerik’s JustMock employs an Application
Program Interface (API) that reflects a complete l:l correspondence with Typemock Isolator’s API
for mocking dependent obj ects:

 

Typemock: Isolate.WhenCalled(() => DateTime.Now).WillReturn(new DateTime(l900, 4, 12));
JustMock: Mock.Arrange(() => DateTime.Now).Returns(new DateTime(lQOU, 4, 12));

 

Telerik’s implementation ofthis key API changes only the names arbitrarily given to class and
method components but otherwise is formally identical to Typemock lsolator’s API. This direct
correspondence of` APls, in addition to the above-mentioned coincidence of a unique bug in both the
Typemock Isolator and JustMock products, is strong evidence of willful and deliberate copying by
Telerik of the Typemock lsolator code and of its underlying software implementation, resulting in
the infringement as shown throughout this claim chart.

 

1.9 wherein imposing The example replaces the expected behavior of returning the current DateTime with the faked

includes removing or value of April 12, 1900 instead.

replacing an expected

behavior of the at least one

coupled software

component -Arrange

The Arrange method is used to change the behavior of method or property calls on a mock. lt is

used in conjunction with one or more of the supported behaviors described in this section:

CallOriginal() - use the original method implementation

Dolnstead() ~ execute a custom code when the method is called.

lnitialize() - sets up all framework methods

DoNothing(} - ignore the call. This method is used only for readability and is applicable only
for void methods.

Also see documentation http:i’!www.telcrik.com!helpi’iustmock/basic~usaue-mock.html, which
shows additional functionality to change expected behavior:

 

 

 

 

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US 3.3.52.‘)2.} AC`C`L*SE[) (".(__)-_\"I P()NENTS .»'\Nl) BASIS (_)F lNFRlN('§E:\'I F_NT C(_`)N'I`ENTI()N.S

  

|'vlustBeCa|led() - mark the method assert that it is called during the executing of the test.
Raise() ~ raise mocked event.
Raises() ~ raise an event once the method is called.

Returns() - use with a non-void method to return a custom value_
Throws() - throw an exception once the method is called.

 
   

 

l.lO during runtime; and When the code is changed “on the fly" as above, this is “during runtime”

it changes it before the just-in-time compilation and injects code in the original code on~
the-f|y.

http:ffwww.telerik.comfforums!is-iustmock"a-quot-profiler-quot

 

l.l l wherein the at least The Test code, where tri ggered, is operative to query the testing component apparatus of this
one code element is claim.
operative to query said

_ The “inj ected code" (at least one code element) queries the Arrange method1 which is part of the
computatlonal apparatus

computational apparatus for testing. As above:

 

 

 

for testing.

Mock.Arrange{[) => DateTime.Now).Retums{new Date'l`ime(l 900, 4, 12})
4. A system according to httn:h’docs.telerik,comthelpfiustrnockfbasic-usage-automockina.html
c l wherem send set See Elevated Automocking
comprises at least one
utilizing software [T@StMethOd]
component which accesses public void ShouldTraneferFundsBet:weenTwoAccountS ll

t

at least_one d?ta element var container = new MockingCont:aj.ne r<Ac<:ount:Service> tt ;
belonging to rts
corresponding utilized decima| expectedea lance = ‘|00;

software component
Conr.ainer . Bind<Account> {) .ToMock (] . Inj ectecllnr.oPa ramet;er ("frOmACCGunt")

.AndArrange(x => Mock.Arrange ( ll =>
x.Balance) . Ret;urns texpect;edBalance} .Must;BeCalled ())
.AndArrange (x => Mock.Arrange ( t) =>

x.Wj.thdraw (expectedBalance) } .Must:BeCalledt) );
container . Bincl<Accounr.> {) .ToMock () . Inj ectedIntoParameter t "toACcOunt"}
.Andhrrange tx => Mocl<.Arrange( () =>
x. Deposit (expecr.edBalance)) .Muat;BeCalled{} };

container . InSt.ance . T rans fer E`unds texpect:eolBa lance) ;

container.Assert ();
}
Here, you are able to arrange the behavior of the different Account dependencies from the mocking
container

 

 

 

 

 

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9. A system according to
claim l wherein the
plurality of software
components comprises a
set of at least one pairs of
utilizing-utilized software
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component, and
wherein said apparatus for
at least partially isolating
comprises access
controlling code external
of the software application
for anticipating
forthcoming utilization of
utilized software
components by utilizing
software components and
for selectively preventing
said utilization by
controlling access of the
utilizing software
component to the utilized
software component

http:ffdocs.telerik.cont."help.’iustrnockfbasic-usage-recursive-mocking.html
http:!!docs.telerik.com)’help!iustmocki'basic-usage-mock-behaviors-recursiveloose.html

RecursiveLoose mocks will return new mocks (with Behavior.RecursiveLoose) for all
membersffunctions of the mocked type. However, as there are types that cannot be mocked

(string. int, etc.), RecursiveLoose mocks will return default value for all value type members and
empty, non-null stubs for strings. A|so, a non-null empty collection will be returned for collection return
types (e.g. array or IEnumerablc) ,

RecursiveLoose mocks are the same as tense mocks, but with one difference: They will
automatically generate empty stubs for all mock members, on all leve|s. This saves time in manually
arranging or initia|izing all the mock prerequisites (M;<_i_n_ip_l_e_s) Further, you can change the pre-
arranged behavior by defining new expectations1 as described in the M article.

 

 

 

[Claim 10 is not asserted in
this case but is charted as
background for asserted
dependent claims]

10. A system according to
claim l wherein said
apparatus for at least
partially isolating is
operative, upon occurrence
ofa call by a first
component from among
the plurality of software
components to a second
component from among
the plurality of software
components, to intervene
to ensure that the second
component does not run.

 

htto:ffdocs.telerik.com!help)'iustmockfbasic-usaae~mock-do-nothing.html

Mock.Arranqe( (] => foo.VoidCall ti ) . DoNothinq ti

 

 

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TYPEMOCK, L'I`D. v. TELER|K INC., l:l’i-cv-102‘74-RGS, AMENDED CLAlM CHARTS

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ll. A system according to
claim 10 wherein said call,
absent operation of said
apparatus for at least
partially .isolating, results
in data being returned by
the second component to
the first compon'ent, and
wherein said apparatus for
at least partially isolating is
operative, instead, to inject
fake data into the first
component

http:h‘docs.telerik,conuhelptiustmocio'scenarios-setup-callbacks-with-ret`~and»out-parameters.html

string expected = "foo";

Mock.Arranqet (i => iFoo.Executefret` expected} l .DONot:hinqt) ;
!r‘Act

string actual = string.Empty;

iE'oo . Execur.e (ref actuali ;

r‘r Assert
ns cert .AreEqual (expectect, actual) ;

 

 

14. A system according to
claim l wherein said
apparatus for at least
partially isolating is
operative, upon occurrence
of a call by a first
component from among
the plurality of software
components to a second
component from among
the plurality of software
components, the second
component operating upon
at least one argument, to
intervene by providing the
second component with at
least one fake argument

http:ffdocs.telerik.corru'helpi‘iustmockfscenarios-setup-ca|lbacks-with-ref-and-out-parameters.html

“By using Telerik JustMock you can mock methods that take out or ref parameters."

 

 

 

[Claim 18 is not asserted in
this case but is charted as
background for asserted
dependent claims]

18. A system according to
claim l wherein said
apparatus for testing is
operative to generate a
plurality of expectations
each of which comprises
an identity of an individual
component from among

 

Plurality of cxpectations:
Sequential Mocking

Sequentia| mocking allows you to return different values on the same or different
consecutive calls to one and the same type. |n other words, you can set up expectations for
successive calls of the same type.

http:n'www.telerik.comfhelp!iustmock!basic-usage-sequential-mocl<ing.html

 

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the plurality of software
components and an
associated behavior
inducing message inducing
said apparatus for at least
partially isolating, when
said individual component
is called, to selectively at
least partially isolate, and
to impose a fake behavior
upon, the individual
componentl

Page 8

.L\(`("USFI'} (`()'.\'IP()N ENTS .;\Nl`) BAS|S ()F lNFRlN(}F,|\"l F,NT (`.`(_)NT F.N‘l`|()NS

 

[Claim 22 is not asserted in
this case but is charted as
background for asserted
dependent claims]

22. A system according to
claim 18 wherein at least
an individual one of said
expectations also
comprises an indication of
at least one expected
arguments which are
expected to be passed to
said individual componentl

http:!fdocs.telerik.com!he|ptiustmock!basic-usage-matchers.html

Matchers let you ignore passing actual values as arguments used in mocks. |nstead, they give you
the possibility to pass just an expression that satisfies the argument type or the expected value
range. For example. if a method accepts a string as a first parameter, you don't need to pass a
specific string like "Camera". Instead, you can use Arg.lsAny<string>t}. There are several types of
matchers supported in Telerik JustMock:

l. Defined Matchers
{Arg.AnyBool, Arg,AnyDouble, Arg.AnyFloat, Arg.AnyGuid, Arg.Anylnt, Arg.AnyLong, Arg.AnyObje
ct, Arg.AnyShort, Arg.AnyString, Arg.NullOrEmpty)
Arg.lsAny‘<.'l>();
Arg.lslnRange{[FromValue : int], [ToValue 1 int], [RangeKind])
Arg,Matchesel>(Expression<Predicate<T>> expression}
, Arg.Ref`(]
lvlatchers also let you ignore all arguments in your mocks by a single call to IgnoreArguments() (in the
arrangement) or Args.lgnore{} (in the assertion).

weww

 

 

24. A system according to
claim 18 wherein at least
one expectation is
generating by recording an
actual call to at least said
individual component

http:)“!docs.telerik.comlhelpljustmockfbasic-usaae-mock-retums.html

Mock.Arrange ( fl => foo. Bar) .Returns l lO];

 

 

 

25. A system according to
claim 22 wherein said
individual expectation is
generating by recording an
actual call to said
individual component, in
the course of which call at
least one actual argument
is actually passed to said
individual component and
wherein the indication of at
least one argument in said

 

http:ffdocs.telerik.com."he|ttliustmockfbasic-usaae~matchers.html

“Matchers let you ignore passing actual values as arguments used in mocks. Instead, they give you
the possibility to pass just an expression that satisfies the argument type or the expected value range.
For example, if a method accepts a string as a first parameter, you don’t need to pass a specific
string like "Camera". Instead, you can use Arg.IsAny<string>()."

 

 

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l?S 8.552})23. , .` SE|) (T().'\-'l P()N F.NTS AND B,-'\SlS OF |N FR| i\"(`_i l".l\'l l§NT (I()N'I`ENTI()NS

 

expectation comprises said
at least one actual
argumentl

 

 

26. A system according to http:n'docs.telerik.com!helofiustmockfadvanced-usage-mocking-dll~imports.html
claim l wherein the
plurality of software
components comprises a
set of at least one pairs of
utilizing-utilized SOHWM‘S Mock .Arranqe( (l => E`Oo . GetCurrent:ProceSsId ll l . Returns (expecteci) ;
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component and
which includes metadata
pointing to the utilized
software component, and
said apparatus for at least
partially isolating
comprises apparatus for
modifying said metadata to
point to access control
code, said access
controlling code being
operative to control access
of the utilizing software
component to the utilized
software component

[DllImport ("Kernel32.d|l"} l
public StatiC extern int GetCurrent:ProceSsIcl(l;

 

 

28. A system according to http:r'tdocs.teleril<.comi“helpi‘iustmockfbasic-usage-recursive'mockina.html
claim 24 wherein said call
comprises a chain of n
calls and wherein n
expectations are generated
by recording said chain of
n calls.

Mock.Arrange ( {) => foo. Bar. DO (pinql l .Returns ("aCkZ");

 

 

[Claim 30 is not asserted in See l.P
this case but is charted as
background for asserted
dependent claims]

 

 

 

 

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llS 8,352.923 .A(.`(_`L.`SED (`()\'Ii’ONF.NTS .AND B,'-\SIS (f)l~` INFRlN(`i E:\'l E'NT (`ONTE|\"TIUNS

    

30.P A software testing
system operative to test a
software application
comprising a plurality of
software components, at
least some of which are
coupled, each software
component operative to
perform a function the
system comprising:

 

 

30.1 a processor and See l.l
memory:
30.2 computational See 1.2

apparatus for at least
partially isolating,

 

30.3 from within the See l.3
software application,

 

30.4 at least one coupled See l.4
software component which
performs a given function

 

30.5 by introducing, prior See l.5 and l.6
to execution, code
elements for runtime
access and control of
application points
associated with the at least
one coupled software
component; and

 

30.6 computational See l.?
apparatus for testing the
software application
component

 

30.? by removing or See 1.9
replacing a behavior of at
least said at least partially
isolated coupled software
component during runtime,

 

30.8 without dependency Without dependency injection:
im ectlon’ The best thing about using Telerik JustMock is that you can rnock practically everything
You can even mock types without using dependency injection, making JustMock the best

framework to use when working with legacy code.

http:ffwww.te|eri|<,com/bloqsr‘from-|eoacv-to-deoendencv~iniection

 

 

 

 

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AC`C.`LI'SF.I) ("() :\-'l |’(_`)NF_NTS .'~\N[) B.-\SIS (_)F |N FRING El\"lENT C`()NTF,NTIONS

To test my tightly coupled code l create a new JustMock test project and deleted the exiting
files (| don’t need this n'ght now). l then added a C# Ele called FuturelvlockingTests.cs and
wrote my test:

1: [TestFixture]
2 public class FutureMockingTests
3: {
4: [Test]
51 public void FutureTest()
6: {
7: van expectedDependency=
Mock. Create<DependencyClass>();
8: Mock. Arrange(() =>
expectedDependency. GetDependentValue())
9 . .lgnorelnstance()
1@: .Returns($);
11:
12: van classUnderTest = new DependentClass();
13:
14: Assert.AneEqual(S, classUnderTest.GetValue());
15: }
161 }

(get sample code)

This test should look pretty familiar; t create a mock of the class l want to mock
(DependencyClass) and then arrange the mock. l then call the class and assert the results.
The difference here is the call to lgnorelnstance on line nine. What this does is tell JustMock
to replace all calls to the arranged method (in this case GetDependentValue) with the
arrangement l have supplied This enables me to create mocks for classes that are statically
bound without using dependency injection

Before l run my test l need to ensure that the JustMock pron|er is enabled

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30.9 wherein said
apparatus for testing is
operative to generate a
plurality of expectations
each of which comprises
an identity of an individual
component ii'om among
the plurality of software
components and

See 18

 

 

30. 10 an associated
behavior inducing message
inducing said apparatus for
at least partially isolating,
when said individual

 

See l.S and 1.9

 

 

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component is called, to
selectively at least partially
isolate, and to impose a
fake behavior upon, the
individual component

 

 

[Claim 32 is net asserted in
this case but is charted as
background for asserted
dependent claims]

A system according to
claim 30 wherein the
plurality of software
components comprises a
set of at least one pairs ef`
utilizing-utilized software
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component, said
apparatus for at least
partially isolating
comprises apparatus for
adding access controlling
code between each pair of
utilizing-utilized software
components, said access
controlling code being
operative to control access
of the utilizing software
component to the utilized
software component

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The Arrange method is used to change the behavioer method or property calls on a meck, lt is used
in conjunction with one or more of the supported behaviors described in this section:

CallOriginal(} - use the original method implementation
Dolnstead() - execute a custom code when the method is callcd.
Initialize{) - sets up all framework methods

DoNothingi} - ignore the eall. This method is used only for readability and is applicable only
l`or void methods.

MustBeCallcd() - mark the method assert that it is called during the executing of the test
Raise[) - raise mocked event

Raises() - raise an event once thc method is called.

¢ Retums() - use with a nen~veid method to return a custom valuc.

¢ Throws() - threw an exception once the method is called,

 

 

34. A system according to
claim 32 wherein said set
comprises at least one
utilizing software
component which accesses
at least one data element
belonging to its
corresponding utilized
software component.

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See Elevated

 

 

 

 

 

 

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39. A system according to
claim 30 wherein the
plurality of software
components comprises a
set of at least one pairs of
utilizing utilized soitware
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component, and
wherein said apparatus for
at least partially isolating
comprises access
controlling code external
of the software application
for anticipating
forthcoming utilization of
utilized software
components by utilizing
software components and
for selectively preventing
said utilization by
controlling access of the
utilizing software
component to the utilized
software component

http:i!docs.telerik.comfhelpi'iustmockfbasic-usage-recursive¢mocking.html

“Recursive mocks enable you to mock members that are obtained as a result of "chained" calls on a
mock. For example, recursive mocking is useful in the cases when you test code like this:
foo.Bar.Baz.Do("x").”

 

 

[Claim 40 is not asserted in
this case but is charted as
background for asserted
dependent claims]

40. A system according to
claim 30 wherein said
apparatus for at least
partially isolating is
operative, upon occurrence
of a call by a first
component from among
the plurality of software
components to a second
component from among
the plurality of software
components, to intervene
to ensure that the second
component does not run.

 

 

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Mock.Arrange l () => fOO‘Vc>iciCall ill .DoNOt:hing {)

 

 

 

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l.`IS 3.3:'~2.'¢}`25

 

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41. A system according to
claim 40 wherein said call,
absent operation of said
apparatus for at least
partially isclating, results
in data being returned by
the second component tc
the first component and
wherein said apparatus for
at least partially isolating is
operative, instead, to inject
fake data into the first
component

http::'fdccs.telerik.cornfhelpfiustmcck)“scenarios-sctup-callbacks~with-ref-and-out-parameters.html

 

 

44. A system according to
claim 30 wherein said
apparatus for at least
partially isolating is
operative, upon occurrence
cfa call by a first
component ii'om among
the plurality of software
components to a second
component from among
the plurality of software
components, the second
component operating upon
at least one argumentl to
intervene by providing the
second component with at
least cne fake argument

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48. A system according tc
claim 30 wherein the
plurality cf software
components comprises a
set of at least one pairs cf
utilizing utilized software
components each including
a utilized software
component and a utilizing
software component which
utilizes said utilized
software component and

 

 

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which includes metadata
pointing to the utilized
software ccm_ponent, and
said apparatus for at least
partially isolating
comprises apparatus for
modifying said meta-data
to point to access control
code, said access
controlling code being
operative to control access
of the utilizing software
component to the utilized
software component

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US 9,251,041 ACCUSED COMPONENTS AND BASlS OF INFRINGEMENT CONTENTIONS

 

[Claim l is not asserted The accused components for all asserted claims of the ’041 Patent are Telerik’s JustMockTM and
in this CaS€ but iS DevCraftTM products (“Accused Schware Prcducts”) and systems used fcr electronically
Chal'ted 35 background distributing those products.

for asserted dependent

claims] This claim concerns a system that stores and provides executable code for testing. For example, a

distribution server from which product code may be downloaded. Telerik operates such servers and
l- A System for therefore directly infringes

providing testing for a
given software
application comprising
a plurality of software
components, at least
some of which are
coupled, said system
ccmprising:

 

a first processor The stored executable code is adapted to cause a second processor tc implement functionality which
functionally associated mirrors that claimed in claims l and 50 of the ’923 Patent.

with a digital memory,
which digital memory
stores processor
executable software
testing code adapted to
cause one cr more
second processors to:

 

at least partially isolate See ’923 patent, claims l & 50.
from within the given
software application,
during runtime, at least
one coupled software
component which
performs a given
function by introducing,
prior tc execution cf the
software application,
code elements f`or
runtime access cf
application points
associated with the at
least one coupled
component of the given
software application,
such that at least one of
the introduced code
elements provides the
software testing code
access between
utilizing-utilized

 

 

 

 

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US 9,251,041 ACCUSED COMPONENTS AND BASIS OF lNFRINGEMENT CONTENTIONS

 

software components
during runtime; and

 

test, by use ofthe See ’923 patent, claims l & 50.
second processors
running the testing
code, the given
software application by
imposing a fake
behavior on the at least
one coupled software
ccmpcnent, wherein
imposing behavior
includes removing or
replacing an expected
behavior cf the at least
one coupled software
ccmpcnent, during
runtime, by usc of the
access provided by the
at least one of the
introduced code
elements.

 

 

4. The system http:ffdoes.telerik.ccmfhelpfiustmcckfadvanced-usage-future-mockinghtrnl
according to claim l,
wherein the software
testing code is adapted
tc track objects returned
from mceked calls and
to mock all methods cf
these objects,
recursively, so as to
facilitate a chained
mock response.

 

 

[Claim l is not asserted See claim l.
in this case but is
charted as background
for asserted dependent
claims]

9. A software testing
method for testing a
software application
comprising a plurality
cf software

 

 

 

 

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US 9,251,04] ACCUSED COMPONENTS AND BASIS OF INFRINGEMENT CONTENTIONS

 

components, at least
some of which are
coupled, said method
comprising:

 

at least partially
isolating from within
the software
application, by use of a
computational
apparatus running a
testing application,
during runtime, at least
one coupled software
component which
performs a given
function by introducing
into the software
application, prior to
execution of the
software application,
code elements for
runtime access of
application points
associated with the at
least one coupled
software component,
such that at least one of
the introduced code
elements provides the
testing application
access between
utilizing-utilized
software components
during runtime; and

 

testing, by use of the
computational
apparatus running the
testing application, the
software application by
imposing a fake
behavior on the at least
one coupled software
component wherein
imposing behavior
includes removing or
replacing an expected
behavior of the at least
one coupled software

 

 

 

 

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US 9,251,041 ACCUSED COMPONENTS AND BASIS OF lNFRINGEMENT CONTENTlONS

 

component, during
runtime, by use of the
access provided by the
at least one of the
introduced code
elements.

 

 

16. The method http:!fdocs.telerik.comfhelp!iustmock)'advanced-usase-f`uture-mocking.html
according to claim 9,
further comprising
tracking objects
returned from mocked
calls and mocking all
methods of these
objects recursivcly, so
as to facilitate a chained
mock response.

 

 

 

 

 

